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                       IN THE UNITED STATES DISTRICT COURT,
                    NORTHERN DISTRICT OF OHIO, WESTERN DIVISION

GIANNA HUNNICUTT,                                Case No: 3:21-cv-00666-JGC

       Plaintiff,                                Judge: James G. Carr

vs.                                              STIPULATION FOR DISMISSAL
                                                 AND JOURNAL ENTRY
FRESH ENCOUNTER, INC.,
                                                 Stephen C. Roach (0003569)
       Defendant.                                Attorney for Defendant
                                                 Fresh Encounter, Inc.
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       We, the attorneys for the undersigned parties, do hereby stipulate that the above-

captioned matter has been settled and is dismissed with prejudice against defendant

Fresh Encounter, Inc., with each party to bear its own costs. The Court retains jurisdiction

to enforce the terms of the settlement agreement. The Court may enter an order

accordingly, notice by the clerk being hereby waived.

       IT IS SO ORDERED,



                                                 Judge James G. Carr
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/s/ Fred M. Bean
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/s/ Stephen C. Roach
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Counsel for defendant
Fresh Encounter, Inc.




                                   CERTIFICATION


       This is to certify that on the 2nd day of August, 2021, a copy of the foregoing

Stipulation for Dismissal and Journal Entry was filed electronically. Notice of this filing

will be sent by operation of the Court’s electronic filing system to all parties indicated on

the electronic filing receipt. All other parties will be served by regular U.S. Mail. Parties

may access this filing through the Court’s system.

                                                  Respectfully submitted,


                                                   /s/ Stephen C. Roach
                                                  Stephen C. Roach
                                                  Attorney for Defendant




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